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IN THE UNITED STATES DISTRICT COURT

 

 
 

 

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FOR THE NORTHERN DISTRICT OF TEXAS RTERN DISTRICT OF Ty Ag
AMARILLO DIVISION FILED AS
ALLIANCE FOR HIPPOCRATIC CLER MAR 1 3 2003
MEDICINE, et al., yf SCT CouRr
Plaintiffs, =
v. 2:22-CV-223-Z
U.S. FOOD AND DRUG
ADMINISTRATION, et al.,
Defendants.
ORDER

The Court held a Status Conference on Friday, March 10, 2023, with counsel present for
all parties. The Court will hear oral arguments on Plaintiffs’ Motion for Preliminary Injunction
(ECF No. 6) for 9:00 a.m. (CDT) on Wednesday, March 15, 2023. The hearing will take place
in the first-floor courtroom of the J. Marvin Jones Federal Building and Mary Lou Robinson
United States Courthouse, located at 205 Southeast 5th Avenue, Amarillo, Texas 79101-1559.

As explained at the Status Conference and required by the Judicial Conference of the
United States, Local Rules, and NDTX Miscellaneous Orders, counsel must present their
attorney identification card to enter the courtroom with electronic devices — e.g., cellular phone,
laptop computer, electronic tablet, video camera, etc.

As explained at the Status Conference, the parties shall submit the following information
via email to the Courtroom Deputy on or before 10:00 a.m. (CDT) on Tuesday, March 14, 2023:
(1) identifying information for all counsel participating in the hearing; (2) names and abbreviations
for all recurring statutes, regulations, policies, and cases that may be potentially confusing to the
court reporter — e.g, FFDCA, REMS, FDAAA, NDA, sNDA; and (3) information technology

(IT) details necessary to connect any courtroom technology used at the hearing.

 
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As explained at the Status Conference: the parties are allocated two hours per side;

Plaintiffs may reserve time for rebuttal; and counsel shall determine the time allocated among each

individual party and attorney. Time allocations include responses to questions posed by the Court.

The parties should be prepared to discuss, explain, and argue any issue raised by the briefing,

including but not limited to:

Standing: associational, organizational, zone of interests;

Reviewability: reopening doctrine, Heckler v. Chaney, exhaustion;
Subpart H: history, text, applicability, and implementation;

Agency Decisions: restrictions, labels, elements, and conditions;

Harm: irreparability, deference, and third-party interests;

Public Interest: public health, police power, and FDA policymaking; and

Remedies: injunction, vacatur, withdrawal, and/or suspension

SO ORDERED.

March £3, 2023 Cian

 

MATTHEW J. KACSMARYK
ITED STATES DISTRICT JUDGE
